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                          UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF TEXAS
                                ABILENE DIVISION

UNITED STATES OF AMERICA,

        Plaintiff,
V.                                                          No. 1:20-CR-068-H(0l)
BRYAN DAVID EDWARDS (1),

        Defendant.

         ORDER ACCEPTING REPORT AND RECO1\1MENDATION AND
             REFERRING THE ISSUE OF DETENTION TO THE
                 UNITED STATES MAGISTRATE JUDGE

       Before the Court are the Notice Regarding Entry of a Plea of Guilty, the Consent of

the Defendant, and the Report and Recommendation Concerning Plea of Guilty of the

United States Magistrate Judge. As no objections to the Report and Recommendation have

been filed within fourteen days of service in accordance with 28 U.S.C. § 636(b)( l), the

Court accepts and adopts the Report and Recommendation. Accordingly, the Court accepts

the plea of guilty, and Edwards is hereby adjudged guilty of Possession of Child

Pornography Involving a Prepubescent Minor in violation of18 U.S.C. §§ 2252A(a)(5)(B)

and 2252A(b)(2). Sentence will be imposed in accordance with the Court's scheduling

order. The Court now refers the issue of mandatory detention pending sentencing to the

Honorable Magistrate Judge Parker.

1.     Background

       The Superseding Indictment charges a violation of 18 U.S.C. §§ 2252A(a)(5)(B) and

2252A(b)(2), that is Possession of Child Pornography Involving a Prepubescent Minor. On

August 31, 2021, Edwards pled guilty to the charge. The Honorable Magistrate Judge

Parker recommended that the plea be accepted. Having accepted that recommendation,
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Edwards has now been adjudged guilty ofPossession of Child Pomography Involving a

Prepubescent Minor.

2.        Legal Standard Governing Mandatory Detention

          Title     18   United States Code, Section 3Ia3@)(2) mandates detenrion after            a   guilty

plea if the offense of conviction is among those listed in 18 U.S.C. g 3142(0(1XA)-(C).

Section 3142(f)(1)(A) details three categories of            crime-a crime of violence, a violation of

Section 1591, or an offense listed in Section 2332b(g)(5)(B). Here, Possession ofChild

Pornography Involving a Prepubescent Minor is a crime of violence. A crime of violence is

defined, among other things, as a felony under Chapters                77   , 109A, 110, or i 17 of Title 18.

18   U.S.C.     5   3156(a)(a). Chapter 110 includes the statutes of conviction at issue in this

case-l8 U.S.C.            0$   22524(a)(5)(B) and2252A(b)(2). Moreover, Fifth Circuit precedent

provides that possession of child pornography is a crime of violence within the meaning                         of

18 U.S.C. $         3142(0(1XA). United Statesv. Fitzpatrick,44F. App'x 653 (5th Cn.2002).)

          Section 3143(a)(2) details two exceptions to mandatory detention for defendants

awaiting imposition or executi.on of a sentence. The defendant must be detained unless

"(A)(i)   the   judicial officer finds there is a substantial likelihood that a motion for acquittal or

new trial will be granted; or (ii) an attomey for the Govemment has recommended that no

sentence of imprisonment be imposed on the person; and (B) the judicial oflflcer finds by

clear and convincing evidence that the person is not likeiy to flee or pose a danger to any

other person or the community             "   Id. Additionally,   a person otherwise "subject     to detention

under Section 3143(a)(2), and who meets the conditions ofrelease set forth in Section

3143(a)(1) or (b)(1), may be ordered released, under appropriate conditions, by the judicial




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officer, if it is clearly shown that there are exceptional reasons why such person's detention

would not be appropriate." 18 U.S.C. $ 3145(c).

       The Court thus refers this matter to the Honorable Magistrate Judge Parker to

determine whether Section 3143(a)(2)'s or Section 3145(c)'s exceptions are satisfied.

3.     Conclusion

       The issue of mandatory detention for this offense is referred to Magistrate Judge

Parker for resolution.

       So ordered on     Septemberfr ,2021.

                                                                AN?-
                                                J       WESLEY HENDRIX
                                                        D STATES DISTRICT JUDGE




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